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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                   Southern District
                                                 __________ Districtof
                                                                     ofIndiana
                                                                        __________
                                                                                                             6($/('
                  United States of America                        )
                             v.                                   )
                                                                  )       Case No.
                                                                  )                   1:21-mj-00527
                                                                  )
                Tyler Earl Ja Waun Cabell,                        )
                                                                  )
                          Defendant(s)


                                                CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                    June 5, 2021               in the county of                 Marion        in the
     Southern          District of            Indiana         , the defendant(s) violated:

            Code Section                                                     Offense Description
21 U.S.C. § 841(a)(1)                          Possession with Intent to Distribute 500 grams or More of a Mixture or
                                               Substance Containing Methamphetamine.




         This criminal complaint is based on these facts:
See Attached Affidavit




         ✔ Continued on the attached sheet.
         u

                                                                                              /s/ Trent Tonkovich
                                                                                              Complainant’s signature

                                                                                            SA Trent Tonkovich, HSI
                                                                                               Printed name and title

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       WHOHSKRQH                  UHOLDEOHHOHFWURQLFPHDQV

Date:    June 9, 2021
                                                                                                 Judge’s signature

City and state:                      Indianapolis, Indiana                        Mark J. Dinsmore, U.S. Magistrate Judge
                                                                      Mark J. Dinsmore       Printed name and title
                                                                      United States Magistrate Judge
                                                                      Southern District of Indiana
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                       AFFIDAVIT IN SUPPORT OF APPLICATION

        I, Trent Tonkovich, a Special Agent with the United States Department of Homeland

Security Investigations (HSI), being duly sworn, state as follows:

I.      INTRODUCTION & BACKGROUND OF INVESTIGATION

        1.      Your Affiant is a Special Agent currently assigned to the Indianapolis Office of

Homeland Security Investigations (HSI) since January 2020. As such, Your Affiant is an

“investigative or law enforcement officer” within the meaning of Section 2510(7) of Title 18,

United States Code; that is an officer of the United States who is empowered by law to conduct

investigations of, and to make arrests for offenses enumerated in Title 18, United States Code,

Section 2516.

        2.      Your Affiant, prior to becoming a Special Agent, worked for approximately 7 years

as a United States Border Patrol Agent in Falfurrias, Texas, primarily in narcotics and human

smuggling interdiction. Your affiant also received a Bachelor of Science degree in Criminal

Justice from Eastern Kentucky University in 2006.

        3.      Your Affiant investigates criminal violations of the federal drug laws, including,

but not limited to Title 21, United States Code, Sections 841, 843, 846, 848, 952 and 963. Your

Affiant also investigates, among other offenses, violations of the money laundering and bulk cash

smuggling laws, firearms offenses, and crimes of child exploitation, including violations of Title

18, United States Code, Sections 922, 924, and 1956.

        4.      Your Affiant has personally conducted and/or assisted in criminal investigations

involving controlled substances. Your Affiant has received special training in the enforcement of

laws concerning controlled substances as found in Title 21 of the United States Code. Your Affiant

has participated in the debriefing and interviews of defendants, witnesses, and others who have



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knowledge of how the distribution and transportation of controlled substances works, and also of

the laundering and concealing of proceeds from drug trafficking.

         5.    Your Affiant has prepared and reviewed numerous investigative reports and

interviews related to the possession, manufacture, and delivery of, including possession with intent

to deliver, controlled substances. Your Affiant is familiar with the ways in which drug traffickers

conduct their business, including, but not limited to, their methods of importing and distributing

controlled substances and their use of telephones and code language to conduct their transactions.

Your Affiant is familiar with and have participated in normal methods of investigation, including,

but not limited to, visual surveillance, the general questioning of witnesses, and undercover

operations.

         6.    Your Affiant has had conversations with drug traffickers concerning their methods

of operation in the course of investigative interviews and has participated in the execution of

numerous search warrants relating to illegal drug trafficking. Your Affiant’s experience and

training enable him to recognize methods and means used for the distribution of controlled

substances and for the organization and operation of drug conspiracies, including the means

employed to avoid detection.

II.      PRELIMINARY STATEMENT & BASIS OF INFORMATION

         7.    This Affidavit is made in support of a complaint for Tyler Earl Ja Waun CABELL

(B/M, DOB: XX/XX/1998) (CABELL). As set forth below, probable cause exists to believe that,

CABELL possessed with the intent to distribute more than 3,747 grams of a mixture or substance

containing methamphetamine in violation of 21 U.S.C. § 841 (a)(1).

         8.   Because this Affidavit is being submitted for the limited purpose of securing a

complaint, Your Affiant has not included each and every fact known to Your Affiant concerning



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this investigation. Your Affiant has set forth only the facts that Your Affiant believes are necessary

to establish the foundation for said application.

III.   FACTS & CIRCUMSTANCES REGARDING PROBABLE CAUSE

       9.      On June 5, 2021, at approximately 9:00 a.m., Detective Kyle Freeman of the

Indiana State Police (ISP), a Homeland Security Investigations (HSI) Task Force Officer (TFO),

along with fellow Special Agents (SAs) and TFOs with the Department of Homeland Security,

Homeland Security Investigations (HSI), Indiana State Police (ISP) and Plainfield Police

Department (PD) Officers were conducting in-bound narcotics interdiction operations at the

Indianapolis International Airport, in the Southern District of Indiana.

       10.     Plainfield PD Officer M. Standiford and his K9 partner Axel were conducting free

air sniffs of inbound flight luggage. During a baggage check of Allegiant Airlines Flight GA2879

from Los Angeles, California, K9 Axel gave a positive alert for the presence of a narcotic odor

emitting from a blue roller bag with the name Tyler CABELL listed on the checked baggage tag.

Officers then placed the bag back on the conveyor belt for carousel #1 in the baggage claim area.

       11.     K9 Axel is a certified narcotics K9. K9 Axel is certified through the Hendricks

County K9 group and was last certified on April 22, 2021. K9 Axel is certified in the detection of

marijuana, methamphetamine, cocaine, and heroin.

       12.     TFO Freeman and Plainfield Officer Mike Standiford then observed an individual,

later identified as CABELL, retrieve the blue roller bag and a multi-colored bag from carousel #1

and began walking away. Agents and Officers identified themselves and encountered CABELL.

CABELL was in possession of the blue roller bag. When agents and Officers asked for his

identification, CABELL produced an Indiana State Identification Card identifying himself as Tyler

CABELL.



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       13.     CABELL stated that he did not know who the blue roller bag belonged to or why

the bag had his name on the checked baggage tag. CABELL did state that the multi-colored bag

belonged to him. After consenting to a search of the multi-colored bag was given by CABELL, it

was found to contain approximately seven grams of marijuana. TFO Freeman and Officer

Standiford asked CABELL for consent to search the blue roller bag. CABELL again stated the

blue roller bag with his name on the checked baggage tag was not his. CABELL was then placed

in handcuffs and read his Miranda rights.

       14.     TFO Freeman filed for a search warrant on the blue roller bag of luggage. The

search warrant was granted by Marion County Superior Court Judge John Boyce under Cause

#49D25-2106-MC-107340. Officer Mike Standiford then conducted a search of the blue roller

bag. The following items were located concealed in towels and male clothing: (1) four (4) vacuum

sealed plastic bags containing a crystalline substance (which field-tested positive for

methamphetamine) with a combined field weight of approximately 8.26 pounds or 3,747 grams;

(2) ten (10) vacuum sealed plastic bags containing a plant material (marijuana) with a field weight

of approximately 10.78 pounds; and a brown bottle containing an unknown liquid substance.

       15.     At approximately 11:30 a.m., RAC Daron Babcock advised Tyler CABELL of his

Miranda rights. CABELL verbally acknowledged and waived his Miranda rights and made a

statement in relation to the methamphetamine and marijuana which was seized from his suitcase.

       16.     CABELL stated he flew one-way to Los Angeles, CA on Thursday, June 3, 2021,

for a weekend vacation and that he had purchased a one-way ticket to fly back home to Indianapolis

while he was in California. CABELL stated he met someone out in California who offered him

$7,000 to transport the blue roller bag to Indianapolis, Indiana, but claimed to not know who this

person was, the name or names of who he was to give the blue roller bag to once he arrived in



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Indianapolis, Indiana, or how he was going to be paid for his role in transporting the blue roller

bag.

       17.     CABELL claimed he was to be contacted by someone via cell phone in reference

to the blue roller bag once he landed in Indianapolis, Indiana, but said he could not provide any

names or phone numbers of the individuals he was working with.

       18.     CABELL made statements about an unknown liquid substance in a brown bottle

located inside the blue roller bag as being for sexual enhancement, though he initially stated to

Agents and Officers he did not know what was inside the blue roller bag.

       19.     All of the seized methamphetamine, marijuana, and the brown bottle containing the

unknown liquid substance were transported back to the HSI Indianapolis evidence room.

       20.     The seized methamphetamine will be submitted to the Drug Enforcement

Laboratory in Chicago, Illinois.

       21.     The seized marijuana product(s) and the brown bottle containing the unknown

liquid substance will be submitted to the ISP District 52 Laboratory.

       22.     All of the above-described events occurred in the Southern District of Indiana,

Indianapolis Division.

IV.    CONCLUSION

       23.     Based on the foregoing information, Your Affiant respectfully submits that

probable cause exists to believe that CABELL possessed with the intent to distribute more than

3747 grams of a mixture or substance containing methamphetamine in the Southern District of

Indiana, in violation of 21 U.S.C. § 841(a)(1).

       24.     Your Affiant respectfully requests that the Court order that all papers in support of

this application, including the affidavit and complaint, be sealed until further order of the Court.



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These documents discuss an ongoing criminal investigation that is neither public nor known to all

targets of the investigation. Accordingly, there is good cause to seal these documents because their

premature disclosure may seriously jeopardize that investigation.




                                                     /s/ Trent Tonkovich
                                                     Trent Tonkovich
                                                     Special Agent
                                                     Homeland Security Investigations

       Attested to by the applicant in accordance with the requirements of Federal Rules of
Criminal Procedure 4.1 and 41(d)(3) by telephone.




        Dated: June 9, 2021
                                   Mark J. Dinsmore
                                   United States Magistrate Judge
                                   Southern District of Indiana




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